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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW HAMPSHIRE




United States of America

                                                                  Case No.              ^         Ap - C/

                     UJ

                        WAIVER OF PRELIMINARY/PROBABLE CAUSE HEARING AND/OR
                      WAIVER OF DETENTION HEARING AND STIPULATION TO DETENTION

I.    WAIVER OF PRELIMINARY/PROBABLE CAUSE HEARING

          Having been charged in a (complaint)(supervised release petition) pending in this District, I hereby waive
          my right to a preliminary hearing as provided in Fed. R. Crim, P. 5.1 and Fed. R, Crim. P. 32.1(b)(1).

          OR

      ]   Having been charged with a violation of conditions of release, I hereby waive my right to a hearing, as
          provided in U.S.C. § 3148(b), to determine whether there is(a) probable cause to believe I committed a
          federal, state, or local crime while on release, or (b) clear and convincing evidence that I violated any other
          condition of release.


      WAIVER OF DETENTION HEARING AND STIPULATION TO DETENTION

      ]   I hereby stipulate to detention and waive my right to a detention hearing, without prejudice, as provided in;

                   _         18 U.S.C. § 3142(f), pending trial"
                             18 U.S.C. § 3148(a), revocation of release/pending trial"
                             Fed. R. Crim. P. 46(c) and 18 U.S.C. § 3143, pending sentence
                             Fed. R. Crim. P. 32.1(a)(1) and Fed. R. Crim. P. 46(c), pending revocation of
                             probation/supervised release hearing




          1/15/2-V                                                    Defendant



Date:     1   /T/            /
                                                                      Counsel for DefeAdSnt



          STIPULATION APPROVED.



Date:          ^
                                                                      United States f/lagistrate Judge
                                                                      LInitfid       Di^trirt




cc:       US Attorney
          US Marshal
          US Probation
          Defendant's Counsel



"The defendant is committed to the custody of the Attorney General or his/her designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal.         The defendant shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court for the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for
the purpose of an appearance in connection with a court proceeding.

USDCNH-31A (01-20)
